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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                    Case No.: 24-60382-CIV-Leibowitz/Augustin-Birch
Jessica Piafsky
                  Plaintiff,
vs.
MB Home Improvements, Inc. et al
           Defendant.
                            /
                               CLERK'S NOTICE OF MEDIATOR DESIGNATION
        In accordance with S.D. Fla. L.R. 16.2 (d) (1) (b), the certified mediator identified below is hereby
designated to serve as the mediator in this case:
Lori Adelson
Approved Dispute Resolution
401 East Las Olas Blvd.
Suite 1400
Fort Lauderdale, FL 33301
Telephone: 954-302-8960
Email: Lori@approvedadr.com
         The Certified Mediator shall be compensated in accordance with Administrative Order 2018-34 (“in cases
where the parties have not agreed on the selection of a mediator which results in the Clerk of the Court designating
a mediator on a blind rotating basis ... such designated mediators shall be compensated at the rate of Three Hundred
Fifty Dollars ($350) per hour, which includes the mediator's time preparing for and conducting the mediation,
without compensation for travel."). See also S.D. Fla. L.R. 16.2 (b) (7) ("All mediation fees ... shall be due within
forty-five (45) days of invoice and shall be enforceable by the Court upon motion.")
         Pursuant to S.D. Fla. L.R. 16.2(a)(2), “Format. Unless the Court orders otherwise, the parties shall decide
whether their mediation conference will be conducted in person or by video-conference and, if the parties cannot
agree, the mediation conference shall be held by video-conference.”
         Pursuant to S.D. Fla. L.R. 16.2(d)(2), Plaintiff's counsel (or another attorney agreed upon by all counsel of
record) shall be responsible for coordinating the mediation conference date and location agreeable to the mediator
and all counsel of record. Plaintiff's Counsel in this case is identified below:

David William Berenthal
Berenthal Associates, P.C.
777 Third Avenue Suite 22D
New York, NY 10017
Telephone: 212-302-9494
Email: DWB@Berenthalaw.COM
        DONE at the Federal Courthouse Square, Miami, Florida this 8th day of November, 2024.

                                                                    ANGELA E. NOBLE
                                                                    Court Administrator • Clerk of Court

                                                                    By: s/Deputy Clerk (PJ)



Copies to:
The Honorable David S. Leibowitz, United States District Judge
All Counsel of Record and/or Pro Se Parties
Lori Adelson, Certified Mediator (Copy emailed)                                                           Rev. 2013-01
